     Case 3:07-cr-00032-JAG     Document 269    Filed 10/24/07    Page 1 of 11



                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,

       Plaintiff

             v.                                 CRIMINAL NO. 07-032(JAG)

ALFRED VALDIVIESO RODRIGUEZ, et
al.,

       Defendant(s)


                               OPINION AND ORDER

GARCIA-GREGORY,     D.J.

      Pending before the Court are Defendants Alfred Valdivieso

Rodríguez,    Maileen   Lugo     Torres,      Juan   A.   Tosado-Polanco,        and

Norberto J. Seda Olmo’s (collectively “Defendants”) Motions to

Dismiss. (Docket Nos. 202, 204, 206). For the reasons set forth

below, the Court DENIES the Motions.

                    FACTUAL AND PROCEDURAL BACKGROUND

      In this case, a total of seven doctors, were charged in a

forty one count Superseding Indictment for having participated in

a   scheme   to   distribute    drugs   and    dispense    drugs    through      the

internet to individuals with whom they lacked a doctor-patient

relationship. The Superseding Indictment charges defendants with

violations of Title 21, United States Code, Section 841(a)(1) and

846(a)   conspiracy     to     distribute      controlled        substances      and

distribution of controlled substances); Title 18, United States
      Case 3:07-cr-00032-JAG    Document 269   Filed 10/24/07   Page 2 of 11




Criminal No. 07-032                                                              2
Code, Section 1343(wire fraud); Title 18, United States Code,

Sections     1956(a)(1)(A)(I)      and   (h)(money    laundering)      and     two

forfeiture counts. One of the Government’s main allegations, as

stated in Count One of the indictment, is that Defendants violated

the Controlled Substance Act (“CSA”) by conspiring to distribute

and   possess   with   intent    to   distribute,    outside    the   scope     of

professional practice and not for a legitimate medical purpose,

Schedule III and IV controlled substances. (Docket No. 145).

      On July 13, 2007, Defendant Alfred Valdivieso Rodríguez filed

a Motion to Dismiss the Superseding Indictment. (Docket No. 202).

On July 16, 2007, Defendants Juan A. Tosado-Polanco, Maileen Lugo

Torres and Norberto J. Seda Olmo joined the Motion to Dismiss.

(Docket No. 204). Defendants argued that Puerto Rico Telemedicine

Regulating Act, Law No. 227 of August 11, 1998, 20 L.P.R.A. § 6001

et    seq.   (“Telemedicine      Law”)    authorized     them    to    practice

telemedicine and, therefore, allowed them to prescribe controlled

substances to their internet customers. (Docket Nos. 202, 204).

      Defendant Maileen Lugo Torres, also submitted a Motion to

Dismiss on grounds of prosecutorial misconduct. In said motion,

defendant states that as far back as September 2005 she was the

subject of an investigation by the Drug Enforcement Agency (“DEA”).

In order to conclude said administrative proceeding, Defendant Lugo

Torres entered into a Memorandum of Agreement. Defendant alleges

that in the DEA’s civil investigation she incriminated herself and
    Case 3:07-cr-00032-JAG       Document 269     Filed 10/24/07     Page 3 of 11




Criminal No. 07-032                                                                   3
tacitly admitted to the allegations of illegal practice of medicine

based on the internet prescriptions.

     Defendant    Lugo    Torres     contends     that    the      charges    brought

against her in the Superseding Indictment were the result of a

parallel civil and criminal investigation by the DEA. According to

Defendant Lugo Torres, the DEA’s civil investigation                      was part of

a coordinated effort between that agency and the Department of

Justice to deprive her of the constitutional privilege against

self-incrimination.(Docket No. 206).

     On July 26, 2007, the Government filed its responses (Docket

Nos. 217, 221) and on August 23, 2007, Alfred Valdivieso Rodríguez

filed his reply to response. (Docket No. 246). All of the Motions

to Dismiss were subsequently referred by this Court to Magistrate-

Judge   Camille   L.     Velez     Rive.   (Docket       Nos.      203,    219).    The

Magistrate-Judge    recommended       that      both   Motions      to    Dismiss    be

denied.

     Regarding Defendants’ contention that the Telemedicine Law

allowed them to prescribe controlled substances to their internet

customers, Magistrate-Judge Camille L. Velez-Rive determined in her

Report and Recommendation that the Telemedicine Law only authorizes

the practice of telemedicine when both the physician and the

patient are physically located in the Commonwealth of Puerto Rico.

According to the Magistrate-Judge, Defendants acted outside the

scope of professional practice and not for a legitimate medical
     Case 3:07-cr-00032-JAG    Document 269    Filed 10/24/07       Page 4 of 11




Criminal No. 07-032                                                                   4
purpose when they carried out their telemedicine practice in

several States other than Puerto Rico without having the proper

licenses to do so in those jurisdictions.

     Magistrate-Judge Velez-Rive also concluded in her Report and

Recommendation     that    the    Government    did    not      engage      in      any

prosecutorial misconduct in the handling of Defendant Lugo Torres’s

case.     Accordingly,      the    Magistrate-Judge         recommended            that

Defendants’ Motion to Dismiss be denied. (Docket No. 250). On

October    15,   2007,    Defendants   Alfred    Valdivieso-Rodriguez              and

Maileen      Lugo-Torres          objected      the      Magistrate-Judge’s

recommendations. (Docket Nos. 258, 259). On October 24, 2007,

Defendants Juan Manuel Ramos Gonzalez and Juan A. Tosado Polanco

joined the above mentioned objections. (Docket Nos. 265, 266).

                              STANDARD OF REVIEW

     1) Standard for Reviewing a Magistrate-Judge’s Report and

          Recommendation

     Pursuant to 28 U.S.C. §§ 636(b) (1) (B); Fed.R.Civ.P. 72(b);

and Local Rule 503; a District Court may refer dispositive motions

to   a    United    States       Magistrate-Judge     for       a     Report       and

Recommendation. See Alamo Rodriguez v. Pfizer Pharmaceuticals,

Inc., 286 F.Supp.2d 144, 146 (D.P.R. 2003). The adversely affected

party may “contest the Magistrate-Judge’s report and recommendation

by filing objections ‘within ten days of being served’ with a copy

of the order.” United States of America v. Mercado Pagan, 286
     Case 3:07-cr-00032-JAG   Document 269   Filed 10/24/07   Page 5 of 11




Criminal No. 07-032                                                            5
F.Supp.2d 231, 233 (D.P.R. 2003) (quoting 28 U.S.C. §§ 636(b)(1).)

If objections are timely filed, the District Judge shall “make a de

novo determination of those portions of the report or specified

findings or recommendation to which [an] objection is made.”

Rivera-De-Leon v. Maxon Eng’g Servs., 283 F. Supp. 2d 550, 555

(D.P.R. 2003). The Court can “accept, reject, or modify, in whole

or   in   part,   the   findings   or   recommendations       made    by     the

magistrate”, however, if the affected party fails to timely file

objections, the district court can assume that they have agreed to

the magistrate’s recommendation. Alamo Rodriguez, 286 F.Supp.2d at

146 (quoting Templeman v. Chris Craft Corp., 770 F.2d 245, 247 (1st

Cir. 1985)).

                                DISCUSSION

1. Legitimate Medical Purpose under the CSA

     Defendants aver in their objections to the Magistrate-Judge’s

Report and Recommendation that the Superseding Indictment should be

dismissed because they acted in conformity with the Telemedicine

Law, which allegedly allows physicians to provide prescriptions to

persons outside the geographical jurisdiction of the Commonwealth

of Puerto Rico. Contrary to Magistrate-Judge Camille L. Velez-

Rive’s recommendation, Defendants allege that the Telemedicine Law

made it unnecessary for them to obtain separate licenses from each

of the States where the patients, who consulted them were located.

According to Defendants, their conduct does not fall outside the
       Case 3:07-cr-00032-JAG        Document 269    Filed 10/24/07       Page 6 of 11




Criminal No. 07-032                                                                        6
scope of professional practice and constitutes a legitimate medical

purpose. (Docket No. 258). The Court disagrees with Defendants’

contentions.

       Title 21, United Section 841(a)(1) makes it “unlawful for any

person knowingly or intentionally... to manufacture, distribute, or

dispense... a controlled substance.” Although medical professionals

are generally permitted to dispense controlled substances, they

“can be prosecuted under § 841 when their activities fall outside

the usual course of professional practice.” United States v. Moore,

423 U.S. 122, 124 (1975); United States v. Fuchs, 467 F.3d 889, 899

(5th Cir. 2006). A medical practitioner has unlawfully distributed

a controlled substance if she prescribes the substance either

outside       the       usual   course     of   medical    practice       or   without     a

legitimate medical purpose. United States v. Nelson, 383 F.3d 1227,

1231-1232 (10th Cir. 2004)(citing 21 C.F.R. § 1306.04(a)) and

Moore, 423 U.S. at 124(“Registered physicians can be prosecuted

under § 841 when their activities fall outside the usual course of

professional practice.”).

       In     Moore      the    Supreme    Court   stated    that     “physicians        who

departed from the usual course of medical practice were subject to

the    same    penalties        as   street     pushers”    and    that    Congress      had

intended the CSA to be more, not less, strict. Moore, 423 U.S. at

139.    Thus,       a    physician    is    authorized     to     dispense     controlled

substances only if he acts with a legitimate medical purpose and in
    Case 3:07-cr-00032-JAG   Document 269   Filed 10/24/07   Page 7 of 11




Criminal No. 07-032                                                           7
the usual course of professional practice. Nelson, 383 F.3d at

1233. Conversely, a practitioner would be unauthorized to dispense

a controlled substance if he acts without a legitimate medical

purpose or outside the usual course of professional practice.

Nelson, 383 F.3d at 1233.

     The Courts of Appeal have upheld convictions of physicians and

pharmacists   for   distributing    controlled     substances      over     the

Internet. United States v. Fuchs, 467 F. 3d 889 (5th Cir. 2004);

United States v. Nelson, 383 F.3d 1227, 1232 (10th Cir. 2006). In

prosecutions under § 841 involving distribution of drugs that have

been prescribed by a licensed physician, the Government is required

to prove three elements: (1) that the defendant distributed a

controlled substances, (2) that he or she acted intentionally and

(3) that he or she prescribed the drug without a legitimate medical

purpose and outside the course of professional practice. United

States v. Feingold, 454 F.3d 1001, 1006 (9th Cir. 2006); United

States v. Johnson, 71 F.3d 539, 542 (6th Cir. 1995); United States

v. Tran Trong Cuong, 18 F.3d 1132, 1137 (4th Cir. 1994); United

States v. Varma, 691 F.2d 460, 462 (10th Cir. 1982).

     It is important to recognize that the issue of whether a

physician’s conduct exceeds the bounds of professional medical

practice, rendering him criminally liable under § 841, is one for

determination by a jury. Moore, 423 U.S.       at 142; United States v.

DeBoer, 966 F.2d 1066, 1069 (6th Cir. 1992); United States v.
     Case 3:07-cr-00032-JAG     Document 269      Filed 10/24/07    Page 8 of 11




Criminal No. 07-032                                                                   8
Rosenberg, 515 F.2d 190, 199 (9th Cir. 1975); United States v.

Hernandez, 2007 U.S. Dist. LEXIS 74373 (D. Fla. 2007). As such,

this is an element of the offense which the Government must prove

to the jury, and is not properly the subject of a motion to

dismiss. Id.

      In   essence,    Defendants’     objections       are    brought     forth    to

achieve the dismissal of this case based on the theory that they

acted with a legitimate medical purpose and in the usual course of

professional practice. Defendants’ arguments ignore the fact that

the indictment in this case is not premised upon any statute or

rule of law that specifically precludes the sale of prescription

drugs over the Internet. It is, instead, premised upon a theory

that the drugs were prescribed and distributed outside the bounds

of   professional     medical   practice.      This    is     an   element   of    the

offense,    which    the   Government      must   prove      to    the   jury,     and,

therefore, is not properly the subject of a motion to dismiss.

Consequently, Defendants’ Motion to Dismiss must be denied.

      2. Defendant Lugo Torres’s Fifth Amendment Claim

      In   Defendant    Lugo    Torres’s    objection        to    the   Report    and

Recommendation, she avers that the DEA’s civil investigation and

the incriminating statements that resulted from it were all in

violation of the Self Incrimination Clause of the Fifth Amendment.

Furthermore,    Defendant       disagrees    with     the      Magistrate-Judge’s

conclusion    that    this    case   was   conducted        separately     from    the
       Case 3:07-cr-00032-JAG    Document 269    Filed 10/24/07    Page 9 of 11




Criminal No. 07-032                                                                 9
administrative proceedings. (Docket No. 259). This Court disagrees.

       The    Fifth   Amendment    privilege     allows   one     not   to   answer

official questions put to him in any other proceeding, civil or

criminal, formal or informal, where the answers might incriminate

him in future criminal proceedings. Chavez v. Martinez, 538 U.S.

760,    770   (2003)(citing     Lefkowitz   v.    Turley,    414    U.S.     70,   77

(1973)). The Supreme Court has created rules designed to safeguard

the core constitutional right protected by the Self-Incrimination

Clause. Id. Among these rules is an evidentiary privilege that

protects      witnesses   from     being   forced    to    give     incriminating

testimony, even in noncriminal cases, unless that testimony has

been immunized from use and derivative use in a future criminal

proceeding before it is compelled. Kastigar v. United States, 406

U.S. 441, 451 (1972).

        Testimony obtained in civil suits, or before administrative

or legislative committees, could [absent a grant of immunity] prove

so incriminating that a person compelled to give such testimony

might readily be convicted on the basis of those disclosures in a

subsequent criminal proceeding. Michigan v. Tucker, 417 U.S. 433,

439 (1974). The Supreme Court has held that the failure to assert

the privilege while giving testimony in civil suits, or before

administrative or legislative committees will forfeit the right to

exclude the evidence in a subsequent “criminal case.” Chavez, 538

U.S. at 771; Garner v. United States, 424 U.S. 648, 650(1976)
     Case 3:07-cr-00032-JAG       Document 269     Filed 10/24/07   Page 10 of 11




Criminal No. 07-032                                                                 10
(failure     to   claim   privilege      against    self-incrimination        before

disclosing incriminating information on tax returns forfeited the

right to exclude that information in a criminal prosecution);

United States v. Kordel, 397 U.S. 1, 7(1970) (criminal defendant

forfeited his right to assert Fifth Amendment privilege with regard

to answers he gave to interrogatories in a prior civil proceeding).

If   the    privilege     could    not   be   asserted     in   such    situations,

testimony given in those judicial proceedings would be deemed

“voluntary.” Chavez, 538 U.S. at 771; Rogers v. United States, 340

U.S. 367, 371 (1951). Consequently, a party’s failure at any time

to assert the constitutional privilege against self-incrimination

leaves him in no position to complain later that he was compelled

to give testimony against himself. United States v. Kordel, 397

U.S. 1, 9 (1970).

      Defendant Lugo Torres failed to assert her constitutional

privilege against self incrimination in the civil investigation

conducted by the DEA. The Defendant did not claim said privilege

when she offered her testimony to the DEA agents and when she

voluntarily agreed to the Memorandum of Agreement. As such, the

testimony given in the DEA civil proceeding is deemed voluntary.

      In addition, after conducting a perusal of the record, this

Court      supports the Magistrate-Judges’s conclusion that the civil

investigation and the criminal investigation in this case were

conducted separately. Thus, this Court holds that the DEA’s civil
    Case 3:07-cr-00032-JAG   Document 269      Filed 10/24/07   Page 11 of 11




Criminal No. 07-032                                                               11
investigation    was not part of a coordinated effort between said

agency   and   the   Department    of   Justice    to   deprive    her   of     the

constitutional privilege against self-incrimination. Consequently,

Defendant Lugos Torres’s Motion to Dismiss must be denied.

                                  CONCLUSION

     For the reasons stated above, the Court hereby ADOPTS the

Magistrate-Judge’s Report and Recommendation, (Docket No. 250), and

modifies the basis for denying Defendants’ Motions to Dismiss.

(Docket Nos. 202, 204). Accordingly, the Court DENIES Defendants’

Motions to Dismiss. (Docket Nos. 202, 204, 206).

     IT IS SO ORDERED.

     In San Juan, Puerto Rico, this 24th day of October, 2007.



                                          S/Jay A. Garcia-Gregory
                                          JAY A. GARCIA-GREGORY
                                          United States District Judge
